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  EXHIBIT 24
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                                DECLARATION OF ROBERT LEE
            |, Robert Lee, being over the age of eighteen years and compet
                                                                           ent, declare as
 follows:
 1. | am a lawyer licensed to practice in the Commonwealth of Virginia and
                                                                           the State of
 Mississippi, including the federal district courts and courts of
                                                                  appeals in those
 jurisdictions. | represent David Anthony Runyon (BOP# 57997-083).

 2. In 2009, a jury in the United States District Court for the Eastern
                                                                        District of Virginia
 convicted Mr. Runyon on three counts: conspiracy to commit
                                                                murder-for-hire, 18 U.S.C.
 § 1958(a); carjacking resulting in death, 18 U.S.C. § 2119; and
                                                                  murder with a firearm in
 relation to a crime of violence, 18 U.S.C. § 924(c)(1), (j)(1). In Novem
                                                                          ber 2023, | was
appointed by the United States District Court for the Eastern
                                                              District of Virginia pursuant
to 18 U.S.C. § 3599 to represent Mr. Runyon in post-convictio
                                                              n proceedings, including
executive clemency proceedings, relating to these convictions
                                                                and death sentences
imposed in federal court. Mr. Runyon has been in the custody of
                                                                   the United States
Bureau of Prisons        (BOP) since 2009. Mr. Runyon was entitled to appointment of
counsel in all court proceedings related to these charges becaus
                                                                 e he was found to be
indigent. He has remained indigent throughout his custody and my
                                                                 representation, and
is currently indigent.

3. On December 23, 2024, the President of the United States commut
                                                                       ed Mr. Runyon’s
death sentences to sentences of life without parole. Mr. Runyon’s
                                                                    conviction for murder
under 18 U.S.C. § 924 is pending appellate review in the United
                                                                  States Court of Appeals
for the Fourth Circuit.

4. Because Mr. Runyon no longer has a death sentence, it was
                                                              my understanding that
he would be moved from “death row” at the United States Peniten
                                                                tiary at Terre Haute
(USP-Terre Haute) to another facility.

5. In anticipation of such a move, | participated in a January
                                                               7, 2025, zoom call in which
BOP Supervisory Attorney Chris Synsvoll addressed a numbe
                                                               r of attorneys
representing clients like Mr. Runyon, whose death sentences
                                                                 had been commuted and
who were in custody at USP-Terre Haute awaiting transfers.
                                                               During the call, Mr.
Synsvoll advised counsel that the BOP intended to follow its normal
                                                                    process for
assessing proper placements for the 37 people who had their death
                                                                      sentences
commuted. This would involve a case-by-case review of each client’s
                                                                        behavior, history,
mental and physical health, criminal convictions, and other factors
                                                                    particular to the
inmate under review. He noted that BOP had a range of facilities in which inmate
                                                                                 s could
be placed, and it was BOP’s goal to find the right place for each client.
                                                                           He described
several special programs at BOP facilities that could be possibilities for
                                                                            placement, like
the Life Connections program at USP-Terre Haute. He invited input from
                                                                             counsel on
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 these and any other relevant matters. He said he was prepared to receive this
 information from counsel and provide it to those at the BOP who would be making the
 designation decisions. He also offered to meet individually via zoom or phone call with
each client's counsel to discuss issues counsel wanted to raise about their respective
clients.

6. On January 8, 2025, Elizabeth Peiffer, my co-counsel, and | met via zoom with Mr.
Synsvoll, to discuss plans for Mr. Runyon’s transition from “death row’ at USP- Terre
Haute to another facility suitable to his history and circumstances.

7. Mr. Synsvoll advised that decisions about classification and placement for Mr.
Runyon (and other former death row prisoners) would be made on an individualized
basis and that Mr. Runyon’s transition would be reviewed by the “decision team,”
                                                                                  made
up of two of Mr. Synsvoll’s superiors at BOP, as well as BOP medical and mental
                                                                                health
professionals.
8. Mr. Synsvoll asked what information we wanted to provide to be considered
                                                                             in that
individualized review. We stressed two general areas of information: Mr. Runyon’s
Stellar disciplinary record in the BOP as well as in local jails where he had
                                                                              been in
custody for years during his trial and post-conviction evidentiary hearing, and his
compromised medical condition which left him especially vulnerable in general
population prison settings.

9. Mr. Synsvoll looked at materials he had and acknowledged Mr. Runyon’
                                                                           s excellent
disciplinary record in BOP custody. He communicated that, in his experie
                                                                         nce, placement
at ADX-Florence would not be considered appropriate in light of this
                                                                     record. Mr. Synsvoll
estimated that Mr. Runyon would likely be placed at a United States Peniten
                                                                            tiary for a
period of time before he could be moved to a less-restrictive custodial setting
                                                                                (i.e., a
medium-security prison).

10. Mr. Synsvoll invited us to submit descriptions of Mr. Runyon’s
                                                                   good behavior in
other, less-restricted custodial settings, as well as the nature of his medical
                                                                                  condition
and its impact. We provided that information, including a declaration
                                                                                from a
neuropsychiatrist who has evaluated Mr. Runyon which expresses
                                                                             his professional
concern for Mr. Runyon’s safety in a general population prison
                                                               environment.
11. At the January 8, 2025, meeting, we described Mr. Runyon’s medical
                                                                         conditions,
including encephalomalacia—the death of a portion of his brain, a
                                                                  very serious and
permanent condition, seizures, vertigo (which cause imbalance and falls, and
                                                                             for which
he has received treatment while in BOP custody), and vision issues.

12. One transition option we discussed briefly was whether Mr. Runyon
                                                                       could be placed
in one of the BOP’s Federal Medical Centers (FMCs). Mr. Synsvol
                                                                l advised that FMCs
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 are like hospitals and may not be suitable for Mr. Runyon because he did
                                                                          not appear to
 need acute medical care at the moment like, for example, a person in
                                                                      need of radiation
 treatment for cancer. Mr. Synsvoll said it was possible to look into whether
                                                                              Mr. Runyon
 might be more accurately classified as a medical care level 3, which
                                                                      could affect his
 placement. Based on the information we provided, Mr. Synsvoll said
                                                                      that Mr. Runyon’s
 current classification as medical care level 2 might be lower than it should
                                                                              and not
 reflect the level care Mr. Runyon may need.

 13. Regarding placement at a BOP facility other than an FMC, Mr.
                                                                      Synsvoll advised that
 it was unlikely Mr. Runyon could start at a medium-security facility
                                                                      without first spending
 time in custody in an open USP level prison environment. Mr. Synsvol
                                                                        l advised,
 however, that it is reasonable to expect that Mr. Runyon would be sent
                                                                        to an open
 penitentiary. Mr. Synsvoll offered that, based on Mr. Runyon’s excelle
                                                                        nt disciplinary
 record, he seems like a good candidate to get to a medium level
                                                                   security facility
 eventually.

 14. In terms of other alternatives for placements, Mr. Synsvoll offered
                                                                         that the Life
Connections program at USP-Terre Haute could be a good fit for
                                                               Mr. Runyon. Mr.
Synsvoll explained that Life Connections is a faith-based program
                                                                  that is focused on life
skills and reintegration. He said that Mr. Runyon’s good behavi
                                                                or and strong Christian
faith and spirituality made him a promising candidate for this progra
                                                                      m.
15. On January 28, 2025, | participated in a second group call
                                                                with Mr. Synsvoll and
attorneys representing clients whose death sentences were commu
                                                                    ted in December
2024. Those attorneys explained that their clients were reporting
                                                                   that they had been told
that were going to be referred to the “super maximum-security” facility
                                                                        at the
correctional complex in Florence, Colorado, commonly referred to
                                                                    as “ADX.” Mr.
Synsvoll responded that nothing had changed in the process the
                                                                   BOP would follow in
making appropriate placements for clients, or in the BOP’s goal to
                                                                    find the right
placement for each client. He said there was no plan for immedi
                                                                ate blanket designations
to ADX at that time.

16. Mr. Synsvoll explained that now, following President Trump’
                                                                s Executive Order, the
BOP would be required to submit their plans for placement to
                                                               the Deputy Attorney
General at the U.S. Department of Justice for discussion and approv
                                                                    al. He mentioned
that he still had the materials counsel had provided about their
                                                                 clients, and had
assembled his own information as part of a presentation to be made
                                                                         to the Deputy
Attorney General later that week on January 30. Mr. Synsvoll noted
                                                                        that this additional
level of review was new, and had not been a part of previous reviews,
                                                                           referrals or
placement decisions. Mr. Synsvoll described the BOP’s review as being
                                                                             in a “holding
pattern’; BOP had reached the end of its review and decision proces
                                                                       s, and now was
waiting for responses from the Deputy Attorney General and/or the Attorn
                                                                              ey General.
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17. As of the January 28 zoom call, Mr. Synsvoll offered that some of the clients would
be referred for placement at ADX, but the BOP was referring others—20 or so—for
placement at United States Penitentiaries. He said it was likely that inmates transferred
to USPs would have to spend 12 to 18 months at such a facility before being moved to
a lower security placement, i.e., an FCI.

18. As of March 20, 2025, Mr. Runyon has not received notice that he would be
transferred to ADX.
Pursuant to 28 U.S.C. § 1746, | declare under penalty of perjury under the laws of the
United States of America that the foregoing is true and correct to the best of my
recollection.


    Pant              lee                                      March 26, 2025
Robert Lee
